      Case 18-33363                  Doc 4          Filed 10/30/18 Entered 10/30/18 12:48:18                                      Desc Ch 7 First
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Information to identify the case:
Debtor
                  Peoples Electric Co. Inc.                                                       EIN 41−0699224
                  Name


United States Bankruptcy Court District of Minnesota
                                                                                                  Date case filed for chapter 7 10/29/18
Case number: 18−33363 − WJF




Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                            12/15

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                       Peoples Electric Co. Inc.

2. All other names used in the aka Peoples Contractors, aka Peoples Electrical Contractors, aka System One Control, aka Peoples
   last 8 years                Communication Systems

3. Address                                  277 East Fillmore Avenue
                                            Saint Paul, MN 55107

4. Debtor's attorney                        Benjamin Gurstelle                                                   Contact phone: 612−977−8722
                                            Briggs and Morgan P A                                                Email: bgurstelle@briggs.com
   Name and address                         2200 IDS Center
                                            80 S 8th St
                                            Minneapolis, MN 55402

5. Bankruptcy trustee                       John A. Hedback                                                      Contact phone 612 436−3280
                                            2855 Anthony Ln S                                                    Email HedbackTrustee@hac−mnlaw.com
   Name and address                         Ste 201
                                            St Anthony, MN 55418

6. Bankruptcy clerk's office                200 Warren E Burger Federal Building and                             Hours open: Monday − Friday: 8:00am −
                                            US Courthouse                                                        5:00pm
   Documents in this case may be            316 N Robert St
   filed at this address. You may           St Paul, MN 55101                                                    Contact phone: 651−848−1000
   inspect all records filed in this case                                                                        Web address: www.mnb.uscourts.gov
   at this office or online at
   www.pacer.gov.
                                                                                                                 Date: 10/30/18

7. Meeting of creditors                     November 29, 2018 at 11:00 AM                                        Location:
   The debtor's representative must
   attend the meeting to be                 The meeting may be continued or adjourned to a later date. If        U S Courthouse Rm 402, 316 N Robert
   questioned under oath. Creditors         so, the date will be on the court docket.                            St, St. Paul, MN 55101
   may attend, but are not required to
   do so.

8. Proof of claim                           No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
   Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
   claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
   to do so.

9. Creditors with a foreign                 If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                  extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
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                                      any questions about your rights in this case.
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